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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                     )
                                                  )
                                 Plaintiff,       )
                                                  )
                           vs.                    )         No. 1:98-cr-00038-LJM-MJD
                                                  )
    MARK WHITE (03),                              )
                                                  )
                                 Defendant.       )

                                              ORDER

          Defendant Mark White (“Defendant”) has responded to the Order to Show Cause

  arguing that he has paid the fine issued by the Court of Appeals for the Seventh Circuit

  in its Cause No. 14-2138. A check of that docket reveals that he paid the fine on February

  10, 2015. On the merits of Defendant’s Motion for Certificate of Appealability, and Motion

  for Leave to Appeal in forma pauperis, the Motions are DENIED for the reasons stated by

  the Court in its Order dated January 9, 2015. Specifically, a certificate of appealability

  can only be considered in conjunction with a motion for relief pursuant to 28 U.S.C. §

  2255; however, here, that matter has long been laid to rest. To the extent Defendant

  seeks to file a successive § 2255 motion, he must seek leave to do so with the Seventh

  Circuit Court of Appeals.

          IT IS SO ORDERED.



          07/12/2016
  DATE: ________________                      ________________________________
                                              LARRY J. McKINNEY, JUDGE
                                              United States District Court
  Distribution attached.
                                              Southern District of Indiana
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